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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   JAVO BEVERAGE CO., INC.,                           Case No.: 19-CV-1859-CAB-WVG
12                                     Plaintiff,
                                                        ORDER ON DISCOVERY DISPUTE
13   v.                                                 FOLLOWING PARTIES’
                                                        SUPPLEMENTAL BRIEFING
14   CALIFORNIA EXTRACTION
     VENTURES, INC.; and STEPHEN
15
     COREY,
16                                  Defendants.
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19         On July 23, 2020 Plaintiff Javo Beverage Co., Inc. (“Javo”) and Defendants
20   California Extraction Ventures, Inc. (“CEV”) and Stephen Corey (“Corey”) (collectively,
21   “Parties”) filed supplemental briefing on the instant discovery dispute, pursuant to the
22   Court’s July 21, 2020 Order (Doc. No. 94). (Doc. Nos. 100; 99.) On July 24, 2020, the
23   Court convened a video discovery conference on the matter. In short, Javo seeks CEV’s
24   production of certain documents CEV agreed to produce prior to the July 6, 2020 stay on
25   this litigation pending arbitration between Javo and Corey. (Doc. No. 92.) Javo and CEV
26   dispute the relevance of the documents to the arbitration. Javo argues the documents are
27   relevant to both the arbitration and this litigation because CEV and Corey cannot be
28   disentangled from one another for purposes of assessing liability and damages, regardless

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 1   of forum. CEV disagrees and adds that producing any CEV-held documents in arbitration
 2   proceedings that are exclusively between Javo and Corey would be premature, overly
 3   burdensome, and costly.
 4         As noted in Exhibits A and B in support of the Declaration of Erin Trenda relating
 5   to Javo’s Supplemental Briefing, Javo propounded RFPs 1-41 on Corey and CEV on March
 6   25, 2020 (Doc. No. 100-1 at 2, 7-75; 83-128.) Initially, Corey and CEV lodged objections
 7   but, after meeting and conferring, the dispute was resolved and Corey and CEV agreed to
 8   produce the documents on a rolling basis. Javo did not object to this process. Indeed, CEV
 9   made at least some production of documents prior to the issuance of the Court’s stay. (100-
10   1, 6-128.) To that end, Judge Bencivengo made clear the extent of the stay during the July
11   6, 2020 hearing on that matter, noting: “this case is stayed except for any joint requests to
12   make – or any requests you make to Judge Gallo regarding assistance with discovery that
13   would be helpful in the arbitration or discovery you think you want to do to have it ready
14   when you come back from arbitration.” (Doc. No. 93: 19-23.) Further, the Parties have in
15   place an enforceable Cross Use Agreement, to which the Parties stipulated, to facilitate the
16   exchange of discovery between the arbitration and this litigation. (Doc. No. 89.)
17         In the arbitration proceeding between Javo and Corey, Javo has propounded
18   discovery which includes, in part, some of the same RFPs as propounded by Javo in this
19   litigation. The arbitrator, Judge Jay Gandhi, has set dates for fact and expert discovery
20   along with other pre-arbitration hearing dates. August 14, 2020 is the deadline by which
21   all factual discovery must be completed, with all fact witness depositions to be completed
22   by August 28, 2020. Other than its relevance objection to Javo’s discovery requests, Corey
23   also objects to production of the disputed discovery on the grounds that it needs to focus
24   its limited resources on producing the discovery specifically sought in the arbitration as
25   time is of the essence. CEV also contends that producing discovery now that is only
26   relevant to this litigation is premature and may be wholly unnecessary should Corey prevail
27   in the arbitration proceeding. In other words, CEV contends that the outcome of the
28   arbitration could be dispositive in resolving this litigation as well. Javo contends the

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 1   opposite and posits that, regardless of the arbitration’s outcome, the litigation will continue
 2   because there will be unresolved patent claims still pending.          It seems even Judge
 3   Bencivengo anticipated the stay being lifted when the arbitration has concluded. (“…
 4   discovery you think you want to do to have it ready when you come back from arbitration.”)
 5   (Doc. No. 93: 19-23.)
 6           CEV was unable to provide the Court with specific data about the number of
 7   documents to be produced other than it is generally voluminous. Moreover, CEV did not
 8   contend that producing the documents would be unduly burdensome unless it was ordered
 9   to do so while simultaneously producing discovery specifically at issue in the arbitration.
10           Accordingly, the Court sees no reason why CEV should not meet the discovery
11   obligation to which it committed on May 11, 2020 in supplementing its responses to Javo’s
12   RFPs. Having reviewed and considered the Parties’ supplemental briefing and the
13   arguments made at the July 24, 2020 hearing, the Court agrees with Javo and hereby
14   GRANTS IN PART AND DENIES IN PART its Motion to (Immediately) Produce.
15   Accordingly, the Court ORDERS CEV to produce all outstanding documents in response
16   to Javo’s RFPs, namely responses to Javo’s Requests for Production of Documents
17   (“RFPs”) 1 through 41 as issued prior to the July 6, 2020 stay of this litigation, no later
18   than September 14, 2020. The timing of this deadline will allow Javo and Corey to
19   concentrate on producing the discovery specifically propounded on each other in
20   arbitration which is now currently due no later than August 14, 2020, and when that
21   deadline has passed, for CEV to turn its attention to the production of discovery at issue
22   here.
23           In so ordering, the Court refrains from making any determination as to the
24   applicability and use of CEV’s forthcoming document production(s) to any phase of the
25   arbitration proceedings underway. Such matters are properly reserved to the discretion of
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 1   Judge Gandhi.
 2         IT IS SO ORDERED.
 3   Dated: July 28, 2020
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